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                            EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,

          Plaintiffs,

  v.                                               Civil Action No. 4:20-cv-00957-SDJ

  GOOGLE LLC,

          Defendant.


         UNOPPOSED PUBLIC FILING OF ORDER FROM SPECIAL MASTER

        On February 25, 2024, the Special Master, David T. Moran, entered an order (the “Order”)

 addressing many of the discovery disputes identified by the Plaintiff States in Docket No. 235 and

 by Google in Docket No. 236. The Order was filed under seal. The parties have agreed that the

 Order may be filed publicly without redactions. Therefore, the Plaintiff States now file the Order

 on the docket as Exhibit A.


                                     [Signature Page Follows]
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  DATED: March 4, 2024                           Respectfully submitted,


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